        Case 7:22-cv-00249-DC-RCG Document 9 Filed 02/17/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                             MIDLAND/ODESSA DIVISION

PATRICIA M. HUNSLEY,                            §
              Plaintiff,                        §
                                                §
v.                                              §      MO:22-CV-249-DC-RCG
                                                §
CREDIT SAGE, LLC,                               §
              Defendant.                        §

        ORDER SETTING HEARING ON PLAINTIFF’S MOTION FOR DEFAULT
                              JUDGMENT

        BEFORE THE COURT is Plaintiff Patricia M. Hunsley’s (“Plaintiff”) Motion for

Default Judgment against Credit Sage, LLC. (Doc. 8). This case is before the Court through a

Standing Order pursuant to 28 U.S.C. § 636 and Appendix C of the Local Court Rules for the

Assignment of Duties to United States Magistrate Judges.

        It is hereby ORDERED that a hearing on Plaintiff’s Motion for Default Judgment will be

held on Tuesday February 28, 2023, at 1:30 p.m. via Zoom. The Court will supply the Parties

with the necessary Zoom meeting information via email within 24 hours of the scheduled hearing

time.

        Since a default judgment hearing pursuant to Federal Rule of Civil Procedure 55(b) is an

evidentiary hearing, Plaintiff’s counsel shall call a witness(es) to prove Plaintiff’s claims for the

relief sought in its Complaint and shall introduce evidence appropriate and relevant exhibits

except, if appropriate, reasonable attorney’s fees shall be proven by appropriate affidavit.

        It is so ORDERED.

        SIGNED this 17th day of February, 2023.



                                              RONALD C. GRIFFIN
                                              UNITED STATES MAGISTRATE JUDGE
